                             EXHIBIT A




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    MALLINCKRODT PLC, et al.,1                               Case No. 20-12522 (JTD)
                                                             (Jointly Administered)
                             Reorganized Debtors.


    Heather L. Barlow as Trustee of the
    MALLINCKRODT GENERAL
    UNSECURED CLAIMS TRUST,

                             Plaintiff,                      Adv. Proc. No. 22-50426 (JTD)

                   v.

    FIRST OBJECT INC.,
                                                             Re: Docket Nos. 12 & 13
                             Defendant.


         STIPULATION EXTENDING TIME FOR PLAINTIFF TO RESPOND TO
      MOTION OF FIRST OBJECT, INC. TO RE-OPEN ADVERSARY PROCEEDING,
        VACATE DEFAULT JUDGMENT AND SET ASIDE ENTRY OF DEFAULT

                 This Stipulation is entered into between The Mallinckrodt General Unsecured

Claims Trust, through its trustee Heather L. Barlow (“Plaintiff” or the “Mallinckrodt GUC

Trust”), the successor in interest to Mallinckrodt PLC (the “Debtor” or “Mallinckrodt”) and First

Object Inc. (the “Defendant,” together with the Plaintiff, the “Parties”).

                 WHEREAS on February 23, 2023, Defendant filed its Motion of First Object, Inc.

to Re-Open Adversary Proceeding, Vacate Default Judgment and Set Aside Entry of Default (the

“Motion”) [Docket No. 12] and Opening Brief in Support of Motion of First Object, Inc. to Re-



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 A complete list of the Reorganized Debtors in these chapter 11 cases may be obtained on the website of the
Reorganized Debtors’ claims and noticing agent at http://restructuring.ra.kroll.com/Mallinckrodt. The Reorganized
Debtors’ mailing address is 675 McDonnell Blvd., Hazelwood, Missouri 63042.


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Open Adversary Proceeding, Vacate Default Judgment and Set Aside Entry of Default (the

“Brief”) [Docket No. 13]. Pursuant to Local Rule 7007-1(a)(ii), the deadline to respond to the

Motion and Brief is March 9, 2023.

                 WHEREAS the Parties have agreed to extend the time for Plaintiff to respond to

the Motion and Brief for a period of sixty (60) days to allow the Parties time to resolve this

matter.

                 AND NOW, the Parties stipulate and agree as follows:

                 1. The deadline to respond to the Motion and Brief is extended from March 9,

                      2023 through and including May 8, 2023, without prejudice to request further

                      extensions.

                 2. The Defendant’s right to prosecute the Motion and seek the relief set forth

                      therein and the Plaintiff’s to oppose the Motion and such relief are specifically

                      preserved.

Dated: February 28, 2023

 PACHULSKI STANG ZIEHL & JONES LLP                         JOYCE, LLC

 /s/ James E. O’Neill                                      /s/ Michael J. Joyce
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 Counsel to Plaintiff, Heather L. Barlow as
 Trustee of the Mallinckrodt General Unsecured
 Claims Trust


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